438 F.2d 638
    Terry LADNER, Petitioner-Appellant,v.C. Murray HENDERSON, Warden, Louisiana State Penitentiary,Respondent-Appellee.No. 30765 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Incv.Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    Feb. 9, 1971.
    
      Terry Ladner, pro se.
      William C. Pegues, III, DeRidder, La., for respondent-appellee.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ladner appeals the district court's denial of his petition for a writ of habeas corpus.  We affirm.
    
    
      2
      On March 29, 1968, the appellant pleaded guilty to the charge of escaping from the Louisiana Correctional and Industrial School, where he was then serving a five-year sentence for attempted armed robbery.  He received an additional two-year sentence to run consecutively to his five-year sentence.
    
    
      3
      The appellant now complains that the state trial judge did not inform him that he would lose his accumulated 'good time' and consideration for parole as a result of his plea of guilty.  He contends that the failure to inform him of this prior to acceptance of the plea vitiated the guilty plea.
    
    
      4
      We do not agree.  This collateral effect of the plea was too remote to require the sentencing court to advise him with regard to it, since it concerned an entirely different conviction.  Moreover, it is not essential to the validity of a guilty plea, that non-eligibility for parole be explained to the defendant.  See Onick v. United States, 5th Cir. 1970, 425 F.2d 1292; Sanchez v. United States, 5th Cir. 1969, 417 F.2d 494.
    
    
      5
      The judgment of the district court is affirmed.
    
    
      6
      Affirmed.
    
    